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                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

UNITED STATES OF AMERICA                 )
                                         )      No. 09 CR 206
      v.                                 )      Hon. Harry Leinenweber
                                         )
MARIO RAINONE                            )



           GOVERNMENT’S RESPONSE TO DEFENDANT’S MOTION
                  FOR COMPASSIONATE RELEASE

      The UNITED STATES OF AMERICA, by its attorney, JOHN R. LAUSCH, JR.,

United States Attorney for the Northern District of Illinois, respectfully responds as

follows in opposition to defendant Mario Rainone’s motion for compassionate release.

Defendant’s motion should be denied. Defendant does not have a pre-existing condition

that puts him at particular risk because of the current pandemic, and due to his extensive

criminal history—which led United States District Judge James Alesia to identify the

defendant as an “urban terrorist”—defendant should remain imprisoned where he cannot

harm the public any further.

                                   BACKGROUND

      A.     Offense Conduct and Procedural History

      The defendant has lived a life of violent crime. As far back as the late 1970s, the

defendant was convicted of residential burglary, and was also convicted of possessing a

destructive device—dynamite—for the purpose of blowing up a restaurant. PSR at 7.

Rainone was street muscle for the Chicago Outfit; his specialty lay in extorting and

terrorizing innocent members of the public. He made extortionate demands for money,
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delivered threats to victims, assaulted or directed the assault of recalcitrant victims, and

collected payments. In demanding payments, Rainone not only used threats of violence

to back up his demands for payment, but he purposefully exploited his victims’ fear of the

Outfit in order to collect payments. For example, one of Rainone’s victims was a

restaurant owner in his 70s who was not healthy. Rainone told this victim that unless the

victim paid $200,000 within a very short period of time, Rainone would cut the victim’s

head off, cut his kids’ heads off and put them on a pole in front of the restaurant. In

assessing Rainone’s conduct, United States District Judge James Holderman decided

that there was a “great deal of evidence” that showed that Rainone was “a vicious person

having little or no regard for human life.” See United States v. Rainone, No. 91 CR 727

(N.D. Ill. Sept. 4, 1991) (detention order) at 2.

        On August 28, 1992, defendant Mario Rainone was convicted in the United States

District Court for the Northern District of Illinois of six felony offenses, in violation of 18

U.S.C. §§ 1951, 1962(c) and 1962(d), committed in his role as an “enforcer” for the Patrick

Street Crew, an arm of the Chicago Outfit. See United States v. Rainone, 32 F.3d 1203,

1205 (7th Cir. 1994); PSR 8; S.Tr. 5.1 In sentencing Rainone to 210 months in prison on

the 1992 racketeering and extortion charges, United States District Judge James Alesia

described Rainone as an “urban terrorist” because of his campaign of violence on behalf

of the Outfit. Rainone was released from custody on December 22, 2006. Id.




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        References to the presentence investigation report appear as “PSR __.” References to
        the sentencing transcript in this case appear as “S.Tr. __.” References to the record
        appear as “R. __.”


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        Because of his multiple prior federal felony convictions, Rainone was not entitled

to possess a firearm. But after emerging from prison in 2006, Rainone returned to a life

of crime and once again began preying on innocent members of the public. The defendant

turned once again to residential burglaries and commercial thefts, and at some time prior

to February 13, 2009, defendant acquired a Smith & Wesson Model 19-3, .357 caliber

revolver. Tr. 144, 160, 370. The firearm, which was manufactured outside the State of

Illinois, was purchased in 1971, but was stolen from a residence during the course of a

residential burglary in October 2008. Tr. 368-70. The firearm was discovered in the

defendant’s night stand, during a search of the defendant’s residence for evidence

concerning his burglary activity. Tr. 152-57.

        On March 5, 2009, a federal grand jury returned an indictment charging defendant

with possessing a firearm after having been convicted of a felony, in violation of 18 U.S.C.

§§ 922(g)(1) and 924(e)(1). R. 1. Rainone was convicted after trial, Tr. 454-56, and this

Court sentenced Rainone to a mandatory minimum term of 15 years in prison based on

his status as an armed career criminal. R. 154.2 The court of appeals affirmed the

judgment of this Court, United States v. Rainone, 816 F.3d 490 (7th Cir. 2016), and

Rainone’s collateral attack proved fruitless. United States v. Rainone, No. 17 CV 5916

(N.D. Ill. Jan. 11, 2019), ECF #9.

        On or about May 19, 2020, the defendant filed his motion seeking compassionate

release. R. 173.



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        Defendant also pleaded guilty in the Circuit Court of Lake County to residential burglary.
        PSR 9.


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      B.     The BOP’s Response to COVID-19

      As reported on BOP’s website, in January 2020, BOP began a course of action to

respond to the spread of COVID-19. Phase One of this course of action included the

creation of an agency task force working in conjunction with subject matter experts from

the Centers for Disease Control and Prevention (“CDC”) and the World Health

Organization to review guidance about best practices to mitigate transmission. Id. On

March 13, 2020, as part of Phase Two of the course of action, BOP began implementing

various measures to mitigate the spread of the virus.         These measures included

suspending social visits, in-person legal visits, all inmate movement, and staff travel.

BOP also began implementing procedures to quarantine and screen inmates and staff for

the virus, which included screening all newly arriving inmates for exposure risk factors

and symptoms, quarantining asymptomatic inmates with exposure risk factors, and

isolating and testing symptomatic inmates with exposure risk factors. Id.

      Subsequent phases of BOP’s response included the authorization of inmate

movement in order to avoid overcrowding at BOP facilities. However, such movements

were limited to inmates who had been in custody for more than fourteen days and who

had been subjected to exit screening to ensure that the prisoner had no COVID-19

symptoms (fever, cough, shortness of breath) and a temperature less than 100.4 F.

Subsequent phases of the course of action included the quarantine and isolation of all new

inmates with asymptomatic inmates being quarantined for fourteen days and

symptomatic inmates being isolated until testing negative for COVID-19, modifying

operations to maximize social distancing, the maximization of telework for staff members,


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and conducting inventory reviews of all cleaning and medical supplies to ensure ample

supplies were on hand and ready to be distributed as necessary at BOP facilities.

         On April 1, 2020, as part of Phase 5 of its COVID-19 action plan, BOP secured all

inmates to their assigned cells or quarters to decrease the spread of the virus. On April

13, 2020, BOP extended the implementation of Phase 5 of its COVID 19 plan until May

18, 2020. Further details and updates of BOP’s modified operations are available to the

public        on      BOP      website     at    a       regularly   updated    resource   page:

www.bop.gov/coronavirus/index.jsp.

                                            ARGUMENT

         A.         Legal Standard

         As amended by Section 603(b) of the First Step Act of 2018, Pub. L. 115-391, Title

18, United States Code, Section 3582(c)(1)(A) provides:

                [T]he court, upon motion of the Director of the Bureau of Prisons,
          or upon motion of the defendant after the defendant has fully exhausted
          all administrative rights to appeal a failure of the Bureau of Prisons to
          bring a motion on the defendant’s behalf or the lapse of 30 days from the
          receipt of such a request by the warden of the defendant’s facility,
          whichever is earlier, may reduce the term of imprisonment (and may
          impose a term of probation or supervised release with or without
          conditions that does not exceed the unserved portion of the original term
          of imprisonment), after considering the factors set forth in section
          3553(a) to the extent that they are applicable, if it finds that—

                           (i) extraordinary and compelling reasons warrant such a
                   reduction; or

                            (ii) the defendant is at least 70 years of age, has served
                   at least 30 years in prison, pursuant to a sentence imposed under
                   section 3559(c), for the offense or offenses for which the
                   defendant is currently imprisoned, and a determination has been
                   made by the Direct of the Bureau of Prisons that the defendant
                   is not a danger to the safety of any other person or the

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            community, as provided under section 3142(g); and that such a
            reduction is consistent with applicable policy statements issued
            by the Sentencing Commission.

       Under this statute, a sentence reduction must be consistent with applicable policy

statements issued by the U.S. Sentencing Commission. Id. § 3582(c)(1)(A). In addition

to finding “extraordinary and compelling” reasons for the reduction, the Court must also

find that “[t]he defendant is not a danger to the safety of any other person or to the

community, as provided in 18 U.S.C. § 3142(g)” per U.S.S.G. § 1B1.13(2). Finally, the

Court must consider the 18 U.S.C. § 3553 sentencing factors to the extent relevant. Id.

       Congress directed that the Sentencing Commission issue policy statements

defining the “extraordinary and compelling reasons” that might warrant a sentence

reduction under § 3582(c)(1)(A)(i).     See 28 U.S.C. § 994(t) (“The Commission, in

promulgating general policy statements regarding the sentencing modification

provisions in section 3582(c)(1)(A) of title 18, shall describe what should be considered

extraordinary and compelling reasons for sentence reduction, including the criteria to be

applied and a list of specific examples. Rehabilitation of the defendant alone shall not be

considered an extraordinary and compelling reason.”).

       Pursuant to this directive, § 1B1.13 of the Sentencing Guidelines Manual sets forth

the Commission’s policy statement relating to § 3582(c). Guideline § 1B1.13 provides that

under § 3582(c)(1)(A), a court may reduce a term of imprisonment, after considering the

§ 3553(a) factors, if three criteria are satisfied: (1) “extraordinary and compelling reasons

warrant the reduction”; (2) “the defendant is not a danger to the safety of any other

person or to the community”; and (3) “the reduction is consistent with this policy


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statement.”    Application Note 1 to Guideline § 1B1.13 identifies factors that may

constitute “extraordinary and compelling reasons” for a sentence reduction, including a

defendant’s medical condition, age, family circumstances, and an open-ended category for

“other reasons.”

        Thus, in order to obtain relief under § 3582(c)(1)(A)(i), the defendant must show

that:

        (1) he has requested relief from the BOP and exhausted any administrative

appeals in that process;

        (2) there exist extraordinary and compelling reasons that warrant a sentence

reduction;

        (3) the requested reduction is consistent with the policy statements issued by the

sentencing commission in Guideline §1B1.13, including the requirement that “the

defendant is not a danger to the safety of any other person or to the community”; and

        (4) the reduction is warranted in light of the factors listed in 18 U.S.C. § 3553.

        B.     Exhaustion of Administrative Remedies.

        Rainone submitted a request for compassionate release in April 12, 2020. Because

the First Step Act provides that a defendant may file a motion with this court after 30

days have elapsed without answer from the date of the warden’s receipt of a defendant’s

request, based on the information currently available to it, the government does not

dispute that the defendant has satisfied the threshold exhaustion requirement for filing

a motion for release under § 3582(c)(1), as amended by § 603 of the First Step Act.




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       C.     Defendant Has Not Established Extraordinary and Compelling
              Reasons Warrant His Release under the Factors Enumerated in 18
              U.S.C. § 3553.

       Defendant has not met the statutory standard of presenting “extraordinary and

compelling reasons” warranting a reduction in his sentence under the factors enumerated

in 18 U.S.C. § 3553. Guideline § 1B1.13, the policy statement that describes bases that

might warrant a sentence reduction under § 3852(c)(1)(A)(i), provides that a court may

reduce a term of imprisonment, after considering the factors set forth in 18 U.S.C.

§ 3553(a), if three criteria are satisfied: (1) “extraordinary and compelling reasons

warrant the reduction,” (2) “the defendant is not a danger to the safety of any other

person or to the community,” and (3) “the reduction is consistent with this policy

statement.” U.S.S.G. § 1B1.13. See also, e.g., United States v. Willis, 382 F. Supp. 3d 1185,

1187 (D.N.M. 2019); United States v. Brown, 411 F. Supp. 3d 446, 448 (S.D. Iowa 2019).

Application Note 1 to Guideline § 1B1.13 identifies factors that may constitute

“extraordinary and compelling reasons” for a sentence reduction, including a defendant’s

medical condition, age, family circumstances, and an open-ended category for “other

reasons.” Specifically, according to the policy statements, the Sentencing Commission

concluded that “extraordinary and compelling reasons” were limited to the following four

scenarios:

       1. The defendant suffered from a “terminal illness” or his physical or mental
          condition “substantially diminishes the ability of the defendant to provide self-
          care within the environment of a correctional facility and from which he or she
          is not expected to recover.” U.S.S.G. § 1B1.13 cmt. n.1(A).




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      2. The defendant was at least 65 years old, experiencing a serious deterioration
         in physical or mental health because of the aging process, and served the lesser
         of 10 years or 75% of his sentence. Id. § 1B1.13 cmt. n.1(B).

      3. The defendant’s family circumstances include either the death or incapacitation
         of the caregiver of the defendant’s minor child or minor children or the
         incapacitation of the defendant’s spouse or registered partner when the
         defendant would be the only available caregiver for the spouse or registered
         partner. Id. § 1B1.13 cmt. n.1(C).

      4. If there were “an extraordinary and compelling reason other than, or in
         combination with, the reasons described in subdivisions (A) through (C).” Id. §
         1B1.13 cmt. n.1(D).

      The changes to 18 U.S.C. § 3582(c)(1)(A) made by the First Step Act altered the

procedure through which compassionate release could be sought, that is, by allowing

defendants to bring their requests to court after exhausting their administrative

remedies, but they did not alter the grounds for granting relief.

      The defendant argues that he is eligible for release because of his age and his

medical condition. He claims he “has” prostate cancer and “skin cancer on his skull.”

Motion at 10. His arguments are meritless.

      First, age, standing alone, is not an extraordinary and compelling reason to reduce

a sentence absent evidence that the defendant is “experiencing a serious deterioration in

physical or mental health because of the aging process.” App. n. 1(B). With respect to

the proof required to demonstrate a serious deterioration in physical or mental health,

Application Note 1(A)(ii)(III) requires evidence that the defendant’s health is

deteriorating because of the aging process, and that it “substantially diminishes the

ability of the defendant to provide self-care within the environment of a correctional



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facility and from which he or she is not expected to recover.” Though the defendant is in

his 60s, he is receiving appropriate medical care and there is nothing exceptional about

his condition.

       Second, contrary to defendant’s contention, according to BOP medical records,

defendant does not currently suffer from any cancer—his prostate cancer was

successfully treated seven years ago. He does not currently suffer from skin cancer

either; he suffers from actinic keratosis—scaly and patchy skin due to sun exposure. He

currently takes no medications and is able to fully care for himself in prison. This Court

should take careful note of the misleading representations made in defendant’s motion

concerning his medical condition and deny it.

       Defendant also points to prison conditions in Iran and China as grounds for his

release. Motion at 2-3. Defendant, of course, is not serving time in Iran or China; he is in

a medical facility, rather than a regular prison, and according to information on the BOP’s

website (visited earlier today), there is not a single inmate or staff member at FMC

Rochester that currently suffers from COVID-19. Given that the defendant’s condition

is stable, that he is receiving proper medical care at an institution geared towards

providing medical treatment, and that there is not a single active case at the medical

institution, neither defendant’s age nor his health condition—singly or in combination—

warrant relief.

       Moreover, early release of defendant would be inconsistent with the relevant

factors set forth in § 3553(a), which the Court must also consider. Both the nature and

circumstances of the offense and the history and characteristics of the defendant, as well


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as the need for the sentence imposed to reflect the seriousness of the offense, to promote

respect for the law, and to provide just punishment for the offense, all militate strongly

against early release from prison in this case. Defendant’s extensive criminal history

strongly suggests that, if this Court gives defendant yet another opportunity to commit

crimes against others, he will seize it, notwithstanding his age. At every turn, defendant

has chosen to pursue the path of a life of crime. He was released from custody on his 1992

case in December 2006. He was arrested just a little over two years later and charged in

this case. To Rainone and his other cohorts who have been associated at times with the

Chicago Outfit, age is no impediment to committing violent crime. See, e.g., United States

v. Scalise et al., 10 CR 290 (N.D. Ill.) (organized crime associates in their 70s planned

armed robbery of armored car and robbery of residence prior to intervention by law

enforcement); United States v. Volpendesto, 08 CR 115 (N.D. Ill.) (organized crime

associate in his 80s personally participated in mob-related bombing); United States v.

Hanhardt, 00 CR 853 (N.D. Ill.) (retired law enforcement officer and organized crime

associate in his 70s personally participated in jewelry theft and robbery ring). This Court

should not give defendant another chance to harm the public, because this defendant has

proven time and again that he will do so if provided the opportunity. Defendant has

shown a blatant disregard for the welfare of others and the public should not be made to

bear the risk of his early release. Accord United States v. Robinson, No. 06 CR 850, mem.

order (N.D. Ill. May 18, 2020) (Kendall, J.), ECF #210 at 2 (relying upon defendant’s

lengthy and violent criminal history in denying motion for compassionate release).




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                                CONCLUSION

    For the foregoing reasons, the motion should be denied.



                                     Respectfully submitted.

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                         CERTIFICATE OF SERVICE

       The undersigned Assistant United States Attorney hereby certifies that the
GOVERNMENT’S          RESPONSE           TO      DEFENDANT’S           MOTION  FOR
COMPASSIONATE RELEASE was served on June 3, 2020, in accordance with FED.
R. CRIM. P. 49, FED. R. CIV. P. 5, LR 5.5, and the General Order on Electronic Case
Filing (ECF) pursuant to the district court’s system as to ECF filers.



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